Case 3:17-cv-01885 Document171-3 Filed 01/04/19 Page 1 of 3 PagelD #: 827
Case 3:17-cv-01885 Document 147-15 Filed 12/10/18 Page 1 of 3 PagelD #: 712

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
HUNTINGTON DIVISION

A.E. and E.W.,
Plaintiffs,
v. Case No. 3:17-cv-01885
Robert C. Chambers, Judge
JOSHUA NIELD;

CITY OF HUNTINGTON, WEST VIRGINIA;
And JOHN DOES 1-7, INDIVIDUALS,

Defendants.

AFFIDAVIT OF NATHANIAL A. KURATOMI

STATE OF WEST VIRGINIA,
COUNTY OF CABELL, TO WIT:

I, Nathanial A. Kuratomi, under oath, testify to the truth of the following:

ls I am over the age of 18 years and competent to testify to the matters contained
within this Affidavit based upon my personal knowledge and belief.

2. I am an attorney licensed to practice law in the State of West Virginia since 2006
(W.Va. State Bar No. 10328) and am a member of the law firm of Jenkins Fenstermaker, PLLC.

3. ! and my firm represent the City of Huntington in the above-referenced Civil Action
pending in the United Stated District Court for the Southern District of West Virginia, Huntington
Division, Case No. 3:17-cv-1885.

4. The City of Huntington has incurred Five Thousand Six Hundred Sixty-Three
Dollars and 00/100 ($5,663.00) in attorney’s fees related to the following tasks prompted by
plaintiffs’ counsel purported service of a Subpoena dated November 16, 2018 as discussed in

greater detail in the Memorandum to which this Affidavit is attached:

EXHIBIT

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Case 3:17-cv-01885 Document171-3 Filed 01/04/19 Page 2 of 3 PagelD #: 828
Case 3:17-cv-01885 Document 147-15 Filed 12/10/18 Page 2 of 3 PagelD #: 713

a. Receiving and reviewing Plaintiffs’ Subpoena duces tecum sent, via
electronic communication, on November 16, 2018;

b. Communicating with counsel for Plaintiffs regarding the Subpoena duces
fecum in writing and by telephone;

c. Conducting research and analysis of the Federal Rules of Civil Procedure
and federal case law regarding improper service of a Rule 45 subpoena duces tecum;

d. Conducting research and analysis of the Federal Rules of Civil Procedure
and federal case law distinguishing between Rule 34 Request for Production of Documents,
and Rule 45 subpoena duces tecum;

é Conducting research and analysis of the Federal Rules of Civil Procedure
and federal case law holding a Rule 45 subpoena duces tecum to be overly broad and unduly
burdensome.

f. Conducting research and analysis of the Federal Rules of Civil Procedure
and federal case law as to Defendant the City of Huntington’s duty to respond to an
improper Rule 45 subpoena duces tecum.

g. Drafting its Motion to Quash and/or Modify Subpoena, including review
and revision of the same.

h. Receiving and reviewing the Court’s November 27, 2018 Order, ECF No.
138, granting Motion to Quash and/or Modify Subpoena;

i. Conducting research and analysis of the Federal Rules of Civil Procedure
and federal case law in preparation to draft Defendant the City of Huntington’s Motion for

Sanctions.
Case 3:17-cv-01885 Document171-3 Filed 01/04/19 Page 3 of 3 PagelD #: 829
Case 3:17-cv-01885 Document 147-15 Filed 12/10/18 Page 3 of 3 PagelD #: 714

ie Drafting the City of Huntington’s Motion for Sanctions and Memorandum

in Support, including review and revision of the same.
5. These fees include Three Thousand Two Hundred Fourty-Four Dollars and 50/100
($3,244.50) for actions taken in responding to the November 16, 2018 Subpoena and Two
Thousand Four Hundred Eighteen Dollars and 50/100 ($2,418.50) for actions taken in preparing

the Motion for Sanctions referenced in the Court’s November 28, 2018 Order, ECF No. 138.

bavtlo ~~

Nathanial A. Kuratomi

FURTHER THE AFFIANT SAITH NOT.

NOTARY STATEMENT
I, a Notary Public for the State of West Virginia, hereby a that the A ffiant,
Nathanial A. Kuratomi, did appear before me this Ate " day of ne, 2018,

and under oath affirmed the foregoing Affidavit as her true and correct testimony.

Hc. 2A O23

OFFICIAL SEAL
NOTARY PUBLIC
STATE OF WEST VIRGINIA

SHARON G, THOMPSON

175 DOVE DRIVE
KENOVA, WV 25530
My Commission Expires MARCH 22, 2023

Le —
/

[stamp or seal]
